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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   Baltimore Division

IN RE:

CINDY LEE TEMPLE                                   Chapter 7
AKA CINDY LEE ESTEP                                Case No. 19-15612-NVA

             Debtor

U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE, SUCCESSOR IN INTEREST TO
BANK OF AMERICA, NATIONAL
ASSOCIATION, AS TRUSTEE,
SUCCESSOR BY MERGER TO LASALLE
BANK, NATIONAL ASSOCIATION, AS
TRUSTEE FOR MERRILL LYNCH FIRST
FRANKLIN MORTGAGE LOAN TRUST,
MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-1

             Movant

v.

CINDY LEE TEMPLE
AKA CINDY LEE ESTEP
2208 JOSEPH RIGGS MEMORIAL HWY
RISING SUN, MD 21911
          (Debtor)

ZVI GUTTMAN
P.O. BOX 32308
BALTIMORE, MD 21282-2308
          (Trustee)

             Respondents
                   MOTION FOR RELIEF FROM AUTOMATIC STAY
         U.S. Bank National Association, as Trustee, Successor in Interest to Bank of America,

National Association, as Trustee, Successor by Merger to LaSalle Bank, National Association, as

Trustee for Merrill Lynch First Franklin Mortgage Loan Trust, Mortgage Pass-Through

Certificates, Series 2007-1 (“Movant”) by undersigned counsel, respectfully moves this
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Honorable Court to terminate the Automatic Stay as to the real property located at 43 Pine Bluff

Lane, Elkton, MD 21921 (“Property”), and, as grounds therefore, states as follows:

       1.     This proceeding seeking relief under 11 U.S.C. § 362(d) of the U.S. Bankruptcy

Code is a contested matter within the meaning of 9014 and 4001 of the Federal Rules of

Bankruptcy Procedure, and this court has jurisdiction over this matter pursuant to 28 U.S.C. §

157. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(G) and (b)(2)(O). Venue is

proper pursuant to 28 U.S.C. § 1409(a).

       2.     On April 25, 2019, the above named Debtor, Cindy Lee Temple aka Cindy Lee

Estep (“Debtor”), filed in this court a Petition under Chapter 7 of the United States Bankruptcy

Code. Zvi Guttman was appointed Chapter 7 Trustee.

       3.     On or about February 5, 2007, Cindy L. Estep and Ronald G Estep, Jr.

(collectively the “Obligors”) executed and delivered to First Home Mortgage Corporation a Note

in the amount of ONE HUNDRED EIGHTY-EIGHT THOUSAND DOLLARS AND NO

CENTS ($188,000.00), plus interest at the adjustable rate of 9.100%, to be paid over thirty (30)

years. A copy of the Note is attached as Exhibit A and incorporated herein.

       4.     To secure the repayment of the sums due under the Note, Cindy L. Estep and

Ronald G Estep, Jr. executed and delivered to First Home Mortgage Corporation a Deed of Trust

dated February 5, 2007, encumbering the real property (“Property”) described as:
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which has the address of 43 Pine Bluff Lane, Elkton, MD 21921. A copy of the Deed of Trust is

attached as Exhibit B and incorporated herein.

        5.    The Note and Deed of Trust were later transferred to Movant and Movant is the

current holder of the Note and Deed of Trust. A copy of the Assignment is attached as Exhibit

C and incorporated herein.

        6.    The Debtor agreed to a permanent modification of the loan described above. The

loan modification is attached as Exhibit D and incorporated herein.

        7.    Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the property

referenced in this Motion for Relief. In the event the automatic stay in this case is lifted/set

aside, this case dismisses, and/or the debtor obtains a discharge and a foreclosure action is

commenced on the mortgaged property, the foreclosure will be conducted in the name of U.S.

Bank National Association, as Trustee, Successor in Interest to Bank of America, National

Association, as Trustee, Successor by Merger to LaSalle Bank, National Association, as Trustee

for Merrill Lynch First Franklin Mortgage Loan Trust, Mortgage Pass-Through Certificates,
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Series 2007-1 ("Note-holder"). Note-Holder directly or through an agent, has possession of the

promissory note. The promissory note is either made payable to Note-holder or has been duly

endorsed. Note-holder is the original mortgagee or beneficiary or the assignee of the security

instrument for the referenced loan.

        8.     As of June 3, 2019, Debtor owes an unpaid principal balance of $246,950.04

under the Note, plus additional accruing interest, late charges, attorneys’ fees and costs.

Unpaid Principal Balance                            $246,950.04
Unpaid, Accrued Interest                              $1,261.80
Escrow Advance                                          $201.90
Modification                                          $9,122.22
Less: Partial Payments                                ($225.68)
Total Outstanding Obligations                      $257,310.28


        9.     As of June 3, 2019, Debtor is contractually due for April 1, 2019, which includes

the following missed payments:

Number of     From                    To                     Payment Amount        Total Due
Missed
Payments
3             April 1, 2019           June 1, 2019                    $1,174.32       $3,522.96
                                                                      Suspense:       ($225.68)

                                                      Total Payments Past Due         $3,297.28


        10.    A copy of the payment history is attached as Exhibit E and incorporated herein.

        11.    The value of the property is $239,311.00, according to the Debtor's Schedule "A".

        12.    The Debtor is in default under the Note.

        13.    The Debtor has not and cannot offer Movant any adequate protection of its

interest in the Property, and Movant avers it is not adequately protected.
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        14.    Debtor's Chapter 7 Statement of Intention lists an intention to surrender the

Property.

        15.    As there is little to no equity in the Property, the Property is not necessary for an

effective reorganization. Therefore, relief from stay is appropriate under § 362(d)(2) of the

Bankruptcy Code to permit Movant to exercise its non-bankruptcy rights and remedies with

respect to the Mortgage.

        16.    That the Debtor‘s intention to surrender the Property to Movant, account

delinquency and lack of equity in the Property constitute cause for relief from the automatic stay.

       WHEREFORE, U.S. Bank National Association, as Trustee, Successor in Interest to

Bank of America, National Association, as Trustee, Successor by Merger to LaSalle Bank,

National Association, as Trustee for Merrill Lynch First Franklin Mortgage Loan Trust,

Mortgage Pass-Through Certificates, Series 2007-1, prays that this Court issue an Order

terminating or modifying the Automatic Stay under 11 U.S.C. § 362 as to the property located at

43 Pine Bluff Lane, Elkton, MD 21921, and granting the following:

       a.      Relief from the Automatic Stay allowing Movant to proceed under applicable

non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the

Property and/or allowing Movant, through its agents, servicers and representatives to contact

Debtor and/or Debtor‘s counsel for the purpose of engaging in discussions and consideration for

possible loss mitigation options, solutions and/or resolutions with regard to the underlying

mortgage and note, including, but not limited to loan modification, deed in lieu or other loss

mitigation alternatives.

       b.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.
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      c.     That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

      d.     For such other relief as the Court deems proper.


Date: June 17, 2019

                                           Respectfully submitted,

                                           /s/ Elizabeth M. Abood-Carroll
                                           Hugh Green, Bar #19260
                                           Kathryn Smits, Bar #13912
                                           Elizabeth M. Abood-Carroll, Bar #20631
                                           Luke McQueen, Bar #18960
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                                           PO Box 2548
                                           Leesburg, VA 20177
                                           (703)777-7101
                                           Attorneys for U.S. Bank National Association, as
                                           Trustee, Successor in Interest to Bank of America,
                                           National Association, as Trustee, Successor by
                                           Merger to LaSalle Bank, National Association, as
                                           Trustee for Merrill Lynch First Franklin Mortgage
                                           Loan Trust, Mortgage Pass-Through Certificates,
                                           Series 2007-1
                                           hgreen@orlans.com
                                           ksmits@orlans.com
                                           eabood-carroll@orlans.com
                                           lmcqueen@orlans.com
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                                  CERTIFICATE OF SERVICE

       The undersigned states that on June 17, 2019, copies of the foregoing Motion for Relief
from Automatic Stay were filed with the Clerk of the Court using the ECF system, which will
send notification of such filing to the following:

Zvi Guttman
P.O. Box 32308
Baltimore, MD 21282-2308
zguttman@gmail.com
Bankruptcy Trustee

David L. Ruben
Law Offices of David Ruben
7310 Ritchie Highway
Suite 704
Glen Burnie, MD 21061
sue@mdbankruptcycenter.com
Debtor’s Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
the foregoing Motion for Relief from Automatic Stay to the following non-ECF participants:

Cindy Lee Temple
aka Cindy Lee Estep
2208 Joseph Riggs Memorial Hwy
Rising Sun, MD 21911
Debtor

                                              /s/ Elizabeth M. Abood-Carroll
                                              Hugh Green, Esquire
                                              Kathryn Smits, Esquire
                                              Elizabeth M. Abood-Carroll, Esquire
                                              Luke McQueen, Esquire
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                        Payment History

Due Date                                  Payment Amount Due

4/1/2019                                              $1,174.32
5/1/2019                                              $1,174.32
6/1/2019                                              $1,174.32
                         Suspense:                    ($225.68)
                            Total:                    $3,297.28
